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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                             FORT PIERCE DIVISION
                         CASE NO. 01-14049-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  JEROND EDWARD HAIRSTON,

                Defendant.
  ________________________/

   ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       ON THE PETITION FOR VIOLATION OF SUPERVISED RELEASE

         THIS CAUSE came before the Court upon the Petition for
  Violation of Probation filed on July 29, 2911.
         A Report and Recommendation filed by Magistrate Judge Lynch
  on August 8, 2011 recommending that the Defendant’s term of
  supervised release be revoked. The Defendant and the Government
  were afforded the opportunity to file objections to the Report
  and Recommendation, however to date, none were filed. The Court
  has conducted a de novo review of the entire file. Accordingly,
  it is
        ORDERED AND ADJUDGED that Magistrate Judge Lynch’s Report and
  Recommendation on the violations set forth in the Petition for
  Violation of Probation is hereby Adopted and Approved in its
  entirety.
        DONE AND ORDERED in Chambers at Miami, Florida, this 6th day
  of September, 2011.



                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Frank J. Lynch
          Diana Acosta, AUSA
          Fletcher Peacock, AFPD
